       Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 1 of 9




     Russell Davis (SBN 177959)
 1
     PACIFIC JUSTICE INSTITUTE
 2   29 Lakewood Ave.
     San Francisco, CA 94127
 3   Tel. (415) 310-6575
 4   rdavis@pji.org

 5   Kevin T. Snider (SBN 170988)
     PACIFIC JUSTICE INSTITUTE
 6
     P.O. Box 276600
 7   Sacramento, CA 95827
     Tel. (916) 857-6900
 8   Fax (916) 857-6902
     ksnider@pji.org
 9
     Attorneys for Plaintiffs
10
11                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
      SELINA KEENE, MELODY FOUNTILA, MARK ) Case No.: 4:22-cv-01587-JSW
13
      MCCLURE,                                          )
14                                                      ) DECLARATION OF RUSSELL DAVIS
             Plaintiffs,                                ) IN REPLY TO DEFENDANTS’
15                                                      ) OPPOSITION TO MOTION FOR
     v.                                                 ) PRELIMINARY INJUNCTION
16                                                      )
17   CITY AND COUNTY OF SAN FRANCISCO;                  )
     LONDON BREED, Mayor of San Francisco in her )
18   official capacity; CAROL ISEN Human Resources ) Date: July 8, 2022
     Director, City and County of San Francisco, in her ) Time: 9:00 AM
19                                                        Courtroom: 5
     official capacity; DOES 1-100,                     )
                                                        )
20
           Defendants.                                  )
21                                                      )

22
23
24
25
26
27
28
     _________________________________________________________________________________________________________
                                    DECLARATION OF RUSSELL DAVIS IN REPLY

                                                        -1-
       Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 2 of 9




 1                         DECLARATION OF RUSSELL DAVIS IN REPLY
 2          I, Russell Davis, declare as follows:
 3          1.      I am the attorney of record in the above matter. I have personal knowledge of the
 4   facts in this matter, and if called to testify about them, I would and could do so competently.
 5          2.      Attached as Exhibit 1 herein is a true and correct copy of the report from the Star
 6   Democrat newspaper quoting Dr. Rochelle Walensky on vaccine transmission.
 7          3.      Attached as Exhibit 2 herein is a true and correct copy of a National Geographic
 8   article about the origin of COVID-19 vaccines and fetal cell lines.
 9          I declare under penalty of perjury under the laws of the State of California that the above is
10   true and correct.
11          Executed this 10th day of June 2022, in San Francisco, California.
12
                                                              /s/ Russell Davis
13                                                            Russell Davis, Esq.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     _________________________________________________________________________________________________________
                                    DECLARATION OF RUSSELL DAVIS IN REPLY

                                                        -2-
Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 3 of 9




                       Exhibit 1
Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 4 of 9
Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 5 of 9
Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 6 of 9
Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 7 of 9




                      Exhibit 2
Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 8 of 9
Case 4:22-cv-01587-JSW Document 23-1 Filed 06/11/22 Page 9 of 9
